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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

SUN VALLEY ORCHARDS, LLC,
Plaintiff,

Vv. Case No. 1:21-cv-16625-JHR-MJS$

U.S, DEPARTMENT OF LABOR, et ai.,

Defendants.

 

 

ORDER

The parties in the above-captioned case have jointly requested that the Court extend
Defendants’ time to respond to the complaint and set an agreed-upon briefing schedule. Good

cause appearing, it is hereby ORDERED that:

® Defendants shall produce the administrative record by December 15, 2021;

e Plaintiff's motion for partial summary judgment shall be due by February 2,
2022 and shall be no longer than 40 pages using 12-point proportional font;

e Defendants’ combined opposition to Plaintiff's motion for summary judgment
and motion to dismiss/cross-motion for summary judgment shall be due by
March 16, 2022 and shall be no longer than 40 pages using 12-point propor-
tional font;

¢ Plaintiff's combined reply in support of their partial motion for summary judg-
ment and opposition to Defendants’ motion to dismiss/cross-motion for sum-
mary judgment shall be due by April 20, 2022 and shall! be no longer than 30
pages using 12-point proportional font; and

e Defendants’ reply in support of their motion to dismiss/cross-motion for sum-
mary judgment shall be due by May 18, 2022 and shall be no longer than 20
pages using 12-point proportional font.

It is further ORDERED that, good cause appearing, the requirements of Local Civil
Rule 56.1 shall not apply to Plaintiff's or Defendants’ motions.
SO ORDERED.

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Dated {ewunlay 10, , 2021 i ail y \Wadun, ub
/Hon.\Joseph H. Rodrigu¢z; U'S.D.I.
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